                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                                  WESTERN DIVISION

SIOUX CITY FOUNDRY COMPANY,      )
                                 )                             5:20-cv-4030
                                                     Case No. __________________
           Plaintiff,            )
                                 )
v.                               )
                                 )
AFFILIATED FM INSURANCE COMPANY, )
                                 )
           Defendant.            )

                     NOTICE OF REMOVAL 28 U.S.C § 1332 and 1446(b)(1)

            Iowa District Court in and for Woodbury County Case No. LACV191890

       Affiliated FM Insurance Company (“Affiliated FM” or “Defendant”), by and through its

undersigned counsel, pursuant to 28 U.S.C. §§ 1441 and 1446, hereby removes this case from the

Iowa District Court for Woodbury County, Iowa to the United States District Court for the

Northern District of Iowa, Western Division. In support of this Notice of Removal, Affiliated FM

states as follows:

                                   STATE COURT ACTION

       1.       On April 29, 2020, Sioux City Foundry Company (“Sioux City Foundry” or

“Plaintiff”) filed its Petition at Law and Demand for Jury Trial (the “Complaint”), naming

Affiliated FM as the sole defendant. Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81, a copy

of the Petition and Jury Demand is attached as Exhibit A.

       2.       The Complaint alleges that Affiliated FM issued a property insurance policy to

Plaintiff, an insurance claim was made by Plaintiff pertaining to an electrical arc flash event that

allegedly caused loss or damage to Plaintiff’s property, and that Affiliated FM breached its




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obligations to Plaintiff in connection with the insurance claim. Plaintiff’s Complaint identifies

causes of action for breach of contract and for first party bad faith.

       3.      On May 11, 2020, Affiliated FM accepted service of the Complaint, at request of

Plaintiff. See Exhibit B.

       4.      According to the docket sheet from the Iowa District Court for Woodbury County,

the following documents are the only filings in the State Court Action:

                 a. Petition at Law and Jury Demand;

                 b. Original Civil Notice; and

                 c. Acceptance of Service;

       5.      Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders

received are accordingly attached hereto, as Exhibits A and B.

                                           TIMELINESS

       6.      Section 1446(b)(1) of title 28 sets requirements for the filing of a Notice of

Removal, and provides that: “The notice of removal of a civil action or proceeding shall be filed

within 30 days after the receipt by the defendant, through service or otherwise, of a copy of the

initial pleading setting forth the claim for relief upon which such action or proceeding is based, or

within 30 days after the service of summons upon the defendant if such initial pleading has then

been filed in court and is not required to be served on the defendant, whichever period is shorter.

       7.      This notice of removal is timely filed because Affiliated FM filed it within thirty

days of the date that Affiliated FM was served with the lawsuit. 28 U.S.C. § 1446(b)(1).

                                 JURISDICTION AND VENUE

       8.      This Court has jurisdiction over this action pursuant to the provisions of 28 U.S.C.

§ 1332(a) because both the diversity and amount in controversy requirement are met.



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        9.      The parties are of diverse citizenship. Plaintiff is an Iowa corporation with its

principal place of business in Iowa. See Complaint, ¶ 1. Defendant is an insurance company

organized under the laws of Rhode Island, with its principal place of business in Rhode Island.

        10.     The amount in controversy requirements are met. Both before and after the filing

of the State Court Action, Plaintiff has communicated to Affiliated FM that it seeks significantly

more than $75,000.00, exclusive of interests and costs.

        11.     Venue for purposes of removal is proper. Actions are removable from a state court

to the district court that encompasses the county where the action was filed. See 28 U.S.C. §

1446(a). Here, the Northern District of Iowa, Western Division, includes the Iowa District Court

for Woodbury County, Iowa.

                                             NOTICE

        12.     Affiliated FM is filing with the Clerk of the Iowa District Court of Woodbury

County a Notice of Filing of Notice of Removal, together with this Notice of Removal and

supporting documents, in accordance with 28 U.S.C. § 1446(d).

        13.     Contemporaneously with this filing, Affiliated FM is providing notice to Plaintiff

in accordance with 28 U.S.C. § 1446(d).

        14.     Pursuant to Local Rule 81(a), Defendant states that this is the only matter currently

pending in the state court that will require resolution. Counsel that has appeared on behalf of

Plaintiffs in state court is:

                Paul W. Deck
                Benjamin J. Deck
                505 5th St., Suite 635
                Sioux City, IA 51101
                (712) 255-3573
                (712) 255-8463 (fax)
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                                         CONCLUSION

       15.     Having established the requirements for diversity jurisdiction are met, and this

action otherwise meeting the requirements for removal, the State Court Action may be removed to

this Court, and Affiliated FM hereby gives notice of its removal.

Dated: May 28, 2020



                                                Respectfully submitted,




                                                Timothy A. Clausen #AT0001554
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                                                712/252-5822 fax

                                                ATTORNEYS FOR DEFENDANT

Copy to:

Paul W. Deck
Benjamin J. Deck
505 5th St., Suite 635
Sioux City, IA 51101
                                                 CERTIFICATE OF SERVICE
                                     The undersigned certifies that the foregoing
                                     instrument was served upon all parties to the
                                     above cause to each of the attorneys of record
                                     herein at their respective addresses disclosed
                                     on the pleading on ___5/29______________, 2020
                                     By: _____ U.S. Mail                ______ facsimile
                                          _____ Hand delivered          ______ Overnight courier
                                          _____ Email                   ___x___ ECF

                                     Signature ___/s/ Mindy Eckmann ________________




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